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                                                                                                  COURT OF APPEAL CASE NUMBER:
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COURT OF APPEAL           APPELLATE DISTRICT, DIVISION
                                                                                                  8:23-cv-00961-WLH
                                                                                                  %$1.5837&<&2857
ATTORNEY OR PARTY WITHOUT ATTORNEY:                 STATE BAR NO.:
NAME:    JAMIE LYNN GALLIAN                                                                       ;;;;;;;;;;;;;;;
                                                                                                  SUPERIOR COURT CASE NUMBER:
                                                                                                  8:21-bk-11710-SC
FIRM NAME:
STREET ADDRESS:  16222 MONTEREY LN. UNIT 376
CITY: HUTINGTON BEACH                         STATE:                  ZIP CODE:   92649            $'9(56$5<&$6(180%(5
TELEPHONE NO.: 714-321-3449               FAX NO.:                                                 DS6&
E-MAIL ADDRESS: JAMIEGALLIAN@GMAIL.COM
ATTORNEY FOR (name): IN PRO SE
        APPELLANT: JAMIE LYNN GALLIAN

   RESPONDENT: Houser Bros Co., A California limited partnership DBA Ranco Del
               Rey Mobilehome Estates

                STIPULATION FOR EXTENSION OF TIME TO FILE BRIEF
                                 (CIVIL CASE)

  Notice: Please read Judicial Council form APP-001 before completing this form. Before a brief is due, parties
  may extend the time to file the brief up to a maximum of 60 days by filing one or more stipulations. However,
  parties may not stipulate to extend the time to file a brief if the court has previously granted an application to
  extend the time to file the brief. See California Rules of Court, rule 8.212(b).

1. All parties to this appeal stipulate to extend the time under Cal. Rules of Court, rule 8.212(a), to file the following brief (check one):
             appellant's opening brief (AOB)
              respondent's brief (RB)
              combined respondent's brief (RB) and appellant's opening brief (AOB) (see rule 8.216)
              combined appellant's reply brief (ARB) and respondent's brief (RB) (see rule 8.216)
              appellant's reply brief (ARB)

2. This brief is now due on (date):

3. The parties agree to extend the due date by (number): 30                       days, so that the new date is (date): September 13, 2023

4. The time to file this brief (check one):
            has not been extended by stipulations previously.
             has been extended previously by one or more stipulations totaling (number)                days.
     The combined extensions to file this brief by this stipulation and any previous stipulation do not exceed 60 days. (See rule 1.10
     regarding the computation of time.)

5. For attorneys filing on behalf of a client, I certify that I have delivered a copy of this stipulation to my client. (See rule 8.60.)

6. A proof of service of this stipulation on all parties is attached (see rule 8.50). You may use Proof of Service (Court of Appeal) (form
   APP-009) or Proof of Electronic Service (Court of Appeal) (form APP-009E) for this purpose.




Date: 8/15/2023


Jamie Lynn Gallian
                     (TYPE OR PRINT NAME)                                                         (SIGNATURE OF PARTY OR ATTORNEY)



 (IF SIGNED BY AN ATTORNEY, NAME OF PARTY REPRESENTED)




                                                                                                                                              Page 1 of 2

Form Approved for Optional Use
Judicial Council of California
                                 STIPULATION FOR EXTENSION OF TIME TO FILE BRIEF (CIVIL CASE)                                         Cal. Rules of Court,
                                                                                                                             rules 8.50, 8.60, 8.63, 8.412
APP-012 [Rev. January 1, 2017]                           (Appellate)                                                                  www.courts.ca.gov
               Case 8:23-cv-00961-WLH Document 7 Filed 08/15/23 Page 4 of 5 Page ID #:63
                                                                                                                         APP-012
    APPELLANT: JAMIE LYNN GALLIAN                                                   COURT OF APPEAL CASE NUMBER:

  RESPONDENT: Houser Bros Co., A California limited partnership DBA Ranco Del Rey M 8:23-cv-00961-WLH


Date: 8/15/2023

D. Edward Hays
                     (TYPE OR PRINT NAME)                                             (SIGNATURE OF PARTY OR ATTORNEY)
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(IF SIGNED BY AN ATTORNEY, NAME OF PARTY REPRESENTED)




Date:


                     (TYPE OR PRINT NAME)                                             (SIGNATURE OF PARTY OR ATTORNEY)



(IF SIGNED BY AN ATTORNEY, NAME OF PARTY REPRESENTED)




Date:


                     (TYPE OR PRINT NAME)                                             (SIGNATURE OF PARTY OR ATTORNEY)



(IF SIGNED BY AN ATTORNEY, NAME OF PARTY REPRESENTED)




APP-012 [Rev. January 1, 2017]
                                 STIPULATION FOR EXTENSION OF TIME TO FILE BRIEF (CIVIL CASE)                              Page 2 of 2

                                                         (Appellate)

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This Form button after you have printed the form.         Print this form   Save this form                        Clear this form
Case 8:23-cv-00961-WLH Document 7 Filed 08/15/23 Page 5 of 5 Page ID #:64
